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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                       PLAINTIFF

V.                           CASE NO. 5:21-CR-50014-001

JOSHUA JAMES DUGGAR                                                          DEFENDANT


                                         ORDER

       IT IS ORDERED that during the sentencing hearing scheduled for May 25, 2022,

members of the public and the media are PROHIBITED from entering the courthouse

with cellular phones, recording devices, or any other type of electronic device, such as

laptop computers or tablets, unless the Court grants specific, advance permission. All

counsel and their assistants sitting inside the rail of the courtroom are exempted from this

Order; however, each party is instructed to email the Courtroom Deputy at least one day

prior to the hearing with the names of those trial team members who will bring electronic

devices and a brief description of each device.

       IT IS SO ORDERED on this 19th day of May, 2022.



                                                     /s/ Timothy L. Brooks
                                                  TIMOTHY L. BROOKS
                                                  UNITED STATES DISTRICT JUDGE
